














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


								




NO. PD-1243-07





DARRELL MAXWELL, Appellant



v.



THE STATE OF TEXAS






ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE THIRTEENTH COURT OF APPEALS

TRAVIS COUNTY





	Per curiam.  keasler and hervey, jj., dissent.



ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i)
&amp; 9.3(b), because it does not contain a copy of the opinion of the court of appeals and the
original petition is not accompanied by 11 copies.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
Court of Criminal Appeals within thirty days after the date of this order.


En banc.

Delivered:  December 12, 2007 

Do Not Publish.


